Case 6:10-cv-00863-ACC-GJK Document1 Filed 06/01/10 Paget of 9

UNITED STATES DISTRICT C()URT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

AMERISURE INSURANCE COMPANY,

Plaintiff,
CASE- NO.:

V.

ACOUSTI ENGINEERING COMPANY ()F
FLORII)A, a Florida For-Proi“lt Corporation,

C()RE C()NSTRUCTI`ON SERVICES
SOUTHEAST, INC., d/b/a CORE CONSTRUCTION,
a Florida Corporation; ARTISAN PARK

CLUB CONDOMINIUM ASSOCIATI`ON, a

Florida Non-Profit Corporation; THE ST. .]OE
COMPANY, A Florida Corporation; and ARTISAN
PARK LLC, a Delaware Limited Liability Company,

Defendauts,
/

 

C{)MPLA}NT FOR DECLARATORY RELIEF

PLAINTIFF, AMERISURE INSURANCE COMPANY (“Arnerisure”), by and through
undersigned counsel and pursuant to 28 U.S.C. §2201, et Seq., and Rule 57, FED.R.CIV.P., hereby
files its Cornp].aint for Declaratory Relief against Defendants Acousti Engineering Cornpany of
Florida; CORE Construction Services Southeast, Inc., Artisan Park Club Condorniniurn Association,
The St. Joe Cornpany, and Artisan Parl<_, LLC, and states as follows in support thereof:

l. This is an action for declaratory relief pursuant to 28 U.S.C. §220], er seq_, which
seeks a determination of the respective rights and obligations ot` Plaintiff, Arnerisure, and
Defendants, Acousti Engineering Company of Florida (“Acousti”)J Core Construction Services
Southeast, lnc., d/‘o/a Core Construction (“Core”), Artisan Park Club Condominiurn Association

(“APCCA”), The St. Joe Company (“St. Joe”) and Artisan Park, LLC (“Arl;isan Park”) under a

Case 6:10-cv-00863-ACC-GJK Document 1 Filed 06/01/10 Page 2 of 9

Cornrnercial General Liability Poiicy, Policy Number GL 2048301000000 (the “Policy”) issued to
Acousti with a policy period from October l, 2007 to January l, 2009. A true and correct copy of
the Policy is attached hereto as Exhibit “A”.

2. Arrrerisure is a foreign corporation organized and existing under the laws Of the State
of Michigan, with its principal place of business in Farmington Hills, MI.

3. Upon information and belief, Acousti is a for~profit corporation with its principal
place of business in Orlando, Orange County, Florida licensed to do and doing business in the State
of Florida in the field of construction

4. Upon information and beiief, CORE is a for-profit corporation with its principle place
of business in Naples, Collier County, Florida licensed to do and doing business in the State of
Florida in the field of construction

5. Upon information and beliefJ APCCA is a non-profit Florida condominium
corporation and has an office for the transaction of its usual and customary business in Osceola
County, Florida.

6. Upon information and belief, St. Joe is aFlorida corporation having its principal place ,
of business in Jacksonvil_le, Duval Coun.ty5 Florida.

7. Upon- information and belief, Artisan Park is a Delaware limited liability company
having its principal place of business in Jacksonville_, Duval County, Florida.

8. Amerisure is incorporated in the State of l\/iichi garr with its principal place of business
in Farrnington Hills, l\/lichigan and all of the Defendant are citizens of Florida or states other than

l\/lichigan. Thus this action is between parties from different states and complete diversity exists

Sce Sfrawbridge v. Curti.§'$, 7 U.S. 267 (1806).

Case 6:10-cv-00863-ACC-GJK Document 1 Filed 06/01/10 Page 3 of 9

9. The Policy at issue has liability limits of two million dollars ($2,000,000.00). “[T]he
amount in controversy is the value of that which is sought to have declared free from doubt-the
policy” when an insurer brings a declaratory action to determine an issue of coverage C.E. Carnes
& Co., lac v. Employers’ Liability Assurance Corp., l()l F.2d 739, 741 (Sth Cir. 1939); see also
Guam'z'an Life InS. Co. ofAmerr'ca v. Mum`z, l0l F.3d 93 (l lth Cir. 1996). As the value of the
Policy is two million dollars ($2,000,000.00), the amount in controversy well exceeds the seventy-
five thousand dollar ($75,000.00) limit for diversity jurisdiction

10. Based on the foregoing, jurisdiction for this action is properly based upon diversity
of citizenship pursuant to 28 U.S.C. § 1332.

l l . Venue is appropriate in this Court as the condominium project underlying the instant
declaratory judgment action is located in Osceola CountyJ Florida.

l2. ' CORE was the general contractor for construction of the Artisan Park Club
Condominiums located in Celebration, Oceola County, Florida (the “Project”).

13. On information and belief, St. Joe and/or Artisan Park were the developers of the
Proj ect and contracted with CORE to act as the general contractor for construction of the Proj ect.

l4. On information and belief, between January l 8, 2005 and January of 2007, CORE and
Acousti entered into a series of subcontracts and amendments regarding the Proj ect wherein Acousti
was to furnish all labor, material, and equipment necessary to install the waterproofing membrane,
flashingj T-Bar, lightweight concrete and all related items as per the plans and specifications on all
elevated balconies, breeze ways, and roof pads for the construction of the Project.

15. On information and belief, between January of 2006 and continuing through

Septernber of 2007, CORE notified Acousti of the leaksj water intrusion, and other problems

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Case 6:10-cv-00863-ACC-GJK Document 1 Filed 06/01/10 Page 4 of 9

allegedly associated with Acousti’s work, including the waterproofing membrane, flashing, T-Bar,
lightweight concrete at elevated balconies, breeze ways, and roof pads.

13. On information and belief, Acousti’s work was completed in 2005 , Certificates of
Occupancy were issued for the various buildings beginning in August of 2005, with the final
Certificate of Occupancy issued in January of 2007.

l4. On information and belief, control of the condominium association was transferred
from St. Joe andjor Artisan Park to the condominium unit owners after issuance of the final
Certificate of Occupancy in January of 2007.

l5. On or about October 13, 2009, subsequent to the transfer of control of the
condominium association to the individual unit owners from the developer(s), APCCA filed suit
against The St. Joe Company, Artisan Parl<; LLC, and CORE Construction Services, Southeast in the
Circuit Court of the Ninth J udicial Circuit of Osceola County, Florida, Case Number 09 CA l 08040€
(“Underlying Action”). See Copy ofComplaint in Underlying Action attached hereto as Exhibit “B”.

l6. ln the Underlying Action, APCCA alleged that they have suffered and continue to
suffer damages proximately caused by defects and deficiencies in the design and construction of the
Project, including, but not limited to, architectural defects; structural defects; fire-safety defects;
waterproofing defects; defects in civil drainage and landscaping defects; defects in the foundation
systems, framing systems, plumbing and HVAC systems, roofing systems, and cladding systems;
defects in windows and exterior doors, masonry rebar and grout structural components, exterior
concrete flatwork, decks, walkways, flooring systems, drywall assemblies and truss systems; and the
material and workmanship incident to their installation (See Exhibir "‘B ” at il 28.)

l7. On or about October 21, 2009, CORE demanded defense and indemnification from

Case 6:10-cv-00863-ACC-GJK Document 1 Filed 06/01/10 Page 5 of 9

Ainerisure in the Underlying Action contending that CORE was an additional insured under the
Policy issued to Acousti as the named insured.

l 8. On or about November 4, 2009, Amerisure issued a Reservation of Rights Regarding
Possible Lacl< of Coverage letter (“ROR”) to CORE in which Amerisure informed CORE that there
were questions regarding whether Acousti’s insurance policy(s) would provide coverage for CORE
regarding the Underlying Action and that Amerisure would participate in the defense of CORE in the
Underlying Action under a full reservation of rights.

l9. The lnsuring Agreement of SECTION l - COVERAGES-COVERAGE ' A

BODILY I'NJ`URY AND PROPERTY DAMAGE LIABILITY provides, in
pertinent part:
a. We will pay those sums that the insured becomes
legally obligated to pay as damages because of
“bodily injury” or “property damage” to which this
insurance applies We will have the right and duty to
defend the insured against any “suit” seeking those
damages However, we will have no duty to defend
the insured against any “suit” seeking damages for

“bodily inj ury” or “property damage” to which this
insurance does not apply.

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b. This insurance applies to “bodily injury” and
“property damage” only if:

(l) The “bodily injury” or “property damage” is
caused by an “occurrence” that takes place in

the “coverage territory”; and

(2) The “bodily injury” or “property damage”
occurs during the policy period, and

(3) Prior to the policy period, no insured listed

`Case 6:10-cv-00863-ACC-GJK Document 1 Filed 06/01/10 Page 6 of 9

under Paragraph l Section ll - Who is an
insured and no employee authorized by you to
give or receive notice of an “occurrence” or
claim knew that the “bodily injury’J or
“property damage” had occurred, in whole or
in part. lf such a listed insured or authorized
“employee” knew, prior to the policy period,
that the “bodily injury” or “property damage”
occurred, then any continuation, change, or
resumption of such “bodily injury” or
“property damage” during or after the policy
period will be deemed to have been known
prior to the policy period.

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d. “Bodily injury"’ or °‘property damage” will be deemed
to have been known to have occurred at the earliest
time when any insured listed under Paragraph l of
Section ll - Who is an lnsured or any “employee”
authorized by you to give or receive notice of an
“occurrence” or claim.

(l) Reports all, or any part of the “bodily injury”
or “property damage” to us or any other
insurer.

(2) Receives a written or verbal demand or claim
for damages because of the “bodily inj ury” or
“property damage”; or

(3) Becomes aware by any other means that
“bodily injury” or “property damage” has
occurred or has begun to occur.

20. The Policy defines an “occurrence” as:

. An accident, including continuous or repeated exposure to
substantially the same general harmful conditions

21. “Property damage” is defined in relevant part as:

a. Physical injury to tangible property, including all

Case 6:10-cv-00863-ACC-GJK Document 1 Filed 06/01/10 Page 7 of 9

resulting loss of use of that property. All such loss of
use shall be deemed to occur at the time of the
physical injury that caused it; or

b. Loss of use of tangible property that is not physically

injured All such loss of use shall be deemed to occur
at the time of the “ occurrence” that caused it.

22. Paragraplr l of SECTION II-WHO IS AN INSURED provides, in pertinent part,

as follows:
l. If you are designated in the Declarations as:
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d. An organization other than a partnership, joint venture

or limited liability company, you are an insured Your
“executive officers” and directors are insureds, but
only with respect to their duties as your officers or
directors Your stockholders are also insureds, but
only with respect to their liability as stockholders

23. SECTION lV - COl\/ll\/IERCIAL GENERAL LIABILITY CONDITIONS provides,
in pertinent part, as follows:
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6. Representations
By accepting this policy, you agree: .

a. the statements in the Declarations are accurate
and co.mplete;

b. those statements are based upon
representations you made to usg and

c. We have issued this policy in reliance upon
your representations

Case 6:10-cv-00863-ACC-GJK Document 1 Filed 06/01/10 Page 8 of 9

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24. The Policy does not provide insurance coverage for “property damage” where the
insured or an “employee” of the insured designated to give or to receive notice knew of the “property _
damage”, in whole or in part, prior to the inception date of the Policy, October l, 2007.

25 . Arnerisure contends that no coverage is afforded by the Policy in connection with the
Underlying Action as to any of the Defendants as, on information and belief, both CORE and
Acousti knew of the alleged property damage purportedly arising out of the work performed by
Acousti prior to October l, 2007.

26. A dispute has arisen between Amerisure and one or more ofthe Defendants regarding
whether the Policy provides coverage for any claims in the Underlying Action allegedly arising out
of Acousti’s work, including, but not limited to whether Amerisure is obligated to defend and/or
indemnify Acousti, or others_, for such claims Based upon CORE’s and Acousti’s knowledge of the
“property damage” allegedly arising out of defective workmanship ofAcousti, Arnerisure contends
that none of the Defendants are entitled to defense or indemnity under the Policy.

27. Amerisure maintains that there is no coverage under the Policy for the claims being
made in the Underlying Action and is in doubt as to its rights, duties and obligations under the
Policy.

28. Amerisure is in need of an immediate declaration of its rights, duties and obligations
under the Policy as it relates to the Defendants in connection with the allegations of the Underlying
Complaint.

29. All conditions precedent to the bringing of this action have been met or have been

waived.

Case 6:10-cv-00863-ACC-GJK Document 1 Filed 06/01/-10 Page 9 of 9

WHEREFORE, Plaintiff, Amerisure lnsurance Company, respectfully requests that:

A. c This Court take jurisdiction of the cause;

B. This Court order, adjudge and decree that this is a proper cause for an action for
declaratory judgment and that there is a bonajide controversy between the parties as to their
legal rights, duties, status and liability;

_ C. This Court order, adjudged and decree that CORE and/or Acousti knew of the
“property damage” alleged in the Underlying Action prior to the inception of the Policy, October l,
2007.

D. This Court order, adjudge and decree that no coverage is afforded under the subject
Policy for any of the Defendants herein for the claims made in the Underlying Action;

E. This Court order, adjudge and decree that Plaintiff, Amerisure Insurance Company,
has no obligation to provide defense or indemnity for any of the Defendant(s) for any of Defendants
herein for claims made in the Underlying Action; and;

F. This Court grant such other and further relief to which Plaintiff, Amerisure insurance

Company, may be entitled, including, but not limited to, an award of taxable costs.

DATED THISM DAY or /_¢ ZZH ‘/[ , 2010.

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